
ORDER
On May 21, the court ordered the parties to submit supplemental memoranda on the question whether a statute of limitations or the equitable defense of laches rendered Appellant Martin’s claim under 11 U.S.C. § 362(h) frivolous. We instructed the parties to the appeal to file their responses within fourteen days. Appellee Erwin timely filed a response. Martin did not.
Instead. Martin filed an emergency motion for extra time. Although this motion was untimely, we granted the request in part, ordering Martin to lodge his supplemental memorandum in the clerk’s office by the close of business on July 1. In our order we warned Martin that the appeal might be dismissed for failure to prosecute if he did not comply. Nevertheless. Martin did not file a timely response. Accordingly, the appeal is
DISMISSED.
